

People v Bowie (2021 NY Slip Op 06098)





People v Bowie


2021 NY Slip Op 06098


Decided on November 09, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 09, 2021

Before: Manzanet-Daniels, J.P., Oing, Moulton, Scarpulla, JJ. 


Ind No. 2328/16 2328/16 Appeal No. 14581 Case No. 2019-03494 

[*1]The People of the State of New York, Respondent,
vFatir Bowie, Defendant-Appellant.


Richard M. Weinstein, New York, for appellant.
Darcel D. Clark, District Attorney, Bronx (Daniel J. Young of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Fernando Camacho, J.), rendered March 5, 2019, convicting defendant, upon his plea of guilty, of manslaughter in the first degree and sentencing him to a term of 15 years, unanimously modified, on the law, to the extent of vacating the sentence and remanding for resentencing, including a youthful offender determination, and otherwise affirmed.
As the People concede, based on People v Rudolph (21 NY3d 497 [2013]),
defendant is entitled to resentencing with an express youthful offender determination on this conviction.THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 9, 2021








